                              UNITED STATES BANKRUPTCY COURT
                            FOR THE WESTERN DISTRICT OF LOUISIANA
                                     LAFAYETTE DIVISION

                                                                 )
In re:                                                           ) Chapter 11
                                                                 )
KNIGHT ENERGY HOLDINGS, LLC, et al.,1                            ) Case No. 17-51014
                                                                 )
                            Debtors.                             ) (Jointly Administered)
                                                                 )


           OBJECTION OF THE CHUBB COMPANIES TO THE NOTICE OF
       ASSUMPTION OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES
        AND PROPOSED CURE COSTS FOR SUCH EXECUTORY CONTRACTS
       AND UNEXPIRED LEASES PURSUANT TO DEBTORS’ JOINT CHAPTER 11
              PLAN OF REORGANIZATION AS OF OCTOBER 17, 2017
                  AS INCLUDED IN THE PLAN SUPPLEMENT

          ACE American Insurance Company and its affiliates (together with their successors, the

“Chubb Companies”), by and through their undersigned counsel, hereby object (the “Objection”)

to the Notice of Assumption of Executory Contracts and Unexpired Leases and Proposed Cure

Costs for Such Executory Contracts and Unexpired Leases Pursuant to Debtors’ Joint Chapter 11

Plan of Reorganization As of October 17, 2017 [Doc. No. 488] (the “Assumption Notice”), as

included in the Debtors’ Plan Supplement [Doc. No. 529] (the “Plan Supplement”), and in support

of the Objection, respectfully state as follows:




1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
    number, are Knight Energy Holdings, LLC (1930) (Case No. 17-51014); Knight Oil Tools, LLC (2667) (Case No.
    17-51015); Knight Manufacturing, LLC (0600) (Case No. 17-51016); KDCC, LLC, f/k/a Knight Well Services,
    LLC (4156) (Case No. 17- 51017); Tri-Drill, LLC (4957) (Case No. 17-51018); Advanced Safety & Training
    Management, LLC, (0510) (Case No. 17- 51019); Knight Security, LLC (0923) (Case No. 17-51020); Knight
    Information Systems, LLC (9787) (Case No. 17-51021); El Caballero Ranch, Inc. (7345) (Case No. 17-51022);
    Rayne Properties, LLC (7235) (Case No. 17-51023); Knight Aviation, LLC (3329) (Case No. 17-51024); Knight
    Research & Development, LLC (3760) (Case No. 17-51025); Knight Family Enterprises, LLC (7190) (Case No.
    17-51026); HMC Leasing, LLC (0814) (Case No. 17-51027) and HMC Investment, LLC (8254) (Case No. 17-
    51029). The Debtors’ service address is 2727 SE Evangeline Thruway, Lafayette, Louisiana 70508 other than
    Knight Manufacturing, LLC and Advanced Safety & Training Management, LLC. Knight Manufacturing LLC’s
    service address is 2810-A Melancon Road, Broussard, Louisiana 70518 and Advanced Safety & Training
    Management, LLC’s service address is 2725 SE Evangeline Thruway, Lafayette, Louisiana 70508.




    17-51014 - #558 File 11/22/17 Enter 11/22/17 16:09:18 Main Document Pg 1 of 12
                                                  BACKGROUND

I.         The Bankruptcy Case

           1.       On August 8, 2017 (the “Petition Date”), the Debtors filed their respective

voluntary petitions for bankruptcy relief under chapter 11 of title 11 of the United States Code (the

“Bankruptcy Code”) in the United States Bankruptcy Court for the Western District of Louisiana

(the “Court”).

           2.       Upon information and belief, the Debtors continue to operate their business and

manage their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code.

           3.       On or about August 25, 2017, the Debtors filed their original plan of reorganization

and accompanying disclosure statement

           4.       On or about October 17, 2017, the Debtors filed the Debtors’ Joint Chapter 11 Plan

of Reorganization As of October 17, 2017 [Doc. No. 417] (the “Plan”),2 and the accompanying

amended disclosure statement [Doc. No. 418] (the “Disclosure Statement”).

           5.       On October 17, 2017, the Court entered an order that, among other things: (a)

approved the Disclosure Statement, and (b) authorized the Debtors to solicit votes with regard to

the acceptance or rejection of the Plan.

II.        The Insurance Program

           6.       Prior to the Petition Date, the Chubb Companies issued certain insurance policies

(as renewed, amended, modified, endorsed or supplemented from time to time, collectively, the

“Policies”) to the Debtors as named insureds or that otherwise provide coverage to the Debtors.

           7.       Prior to the Petition Date, the Chubb Companies and the Debtors also entered into

certain written agreements in connection with the Policies (as renewed, amended, modified,



2
    Capitalized terms used but not defined herein shall have the meaning attributed to them in the Plan.

                                                            2

    17-51014 - #558 File 11/22/17 Enter 11/22/17 16:09:18 Main Document Pg 2 of 12
endorsed or supplemented from time to time, and including any exhibit or addenda thereto,

collectively, the “Insurance Agreements”).

        8.      Pursuant to the Policies and Insurance Agreements (the “Insurance Program”), the

Chubb Companies provide, inter alia, workers’ compensation, general liability, automobile

liability, general liability, international casualty, accident and health, excess general liability,

excess workers’ compensation, energy and mining, and certain other insurance for specified policy

periods subject to certain limits, deductibles, retentions, exclusions, terms and conditions, as more

particularly described therein and the insureds, including one or more of the Debtors, are required

to pay to the Chubb Companies certain amounts including, but not limited to, insurance premiums

(including audit premiums), deductibles, funded deductibles, expenses, taxes, assessments and

surcharges, as more particularly described in the Insurance Program (the “Obligations”).

        9.      The Obligations are payable over an extended period of time and are subject to

future audits and adjustments.

        10.     As of the date hereof, the Obligations are secured by the proceeds of a letter(s) of

credit (collectively and as amended, confirmed, supplemented or replaced, and together with the

proceeds thereof, the “Letter of Credit”), and now or in the future, may be secured by certain cash

collateral or other collateral or security (collectively with the Letter of Credit, the “Collateral”).

        11.     As of the date hereof, the Debtors owe $241,434.52 to the Chubb Companies on

account of the Obligations under the Insurance Program (the “Outstanding Balance”).

        12.     On September 27, 2017, the Chubb Companies filed proofs of claim against each

of the Debtors in connection with the Insurance Program (the “Chubb Companies’ Claims”).

        13.     On November 6, 2017 the Debtors filed the Assumption Notice.

        14.     On November 17, 2017 the Debtors filed the Plan Supplement, which includes the

Assumption Notice therein as Exhibit 8.


                                                   3

 17-51014 - #558 File 11/22/17 Enter 11/22/17 16:09:18 Main Document Pg 3 of 12
        15.       The Assumption Notice lists some, but not all, of the Policies, and does not list any

of the Insurance Agreements.

        16.       The Assumption Notice also states that the Cure amount for each of the listed

Policies is $0.

                                   SUMMARY OF OBJECTION

        17.       The Chubb Companies object to the Assumption Notice because it (a) does not list

all of the Policies and Insurance Agreements that made up the integrated Insurance Program, and

(b) lists a $0 Cure amount for all of the listed Policies when the Debtors have not yet satisfied the

Outstanding Balance with respect to the Insurance Program and amounts will continue to accrue

with respect to existing insured claims.

                                         OBJECTION

I.      The Insurance Program and The Obligations Thereunder are Indivisible

        18.       The Assumption Notice provides that the Debtors intend to assume certain Policies

under the Insurance Program, but not all of the Policies, and none of the Insurance Agreements.

See Assumption Notice, Exhibit A.

        19.       The Insurance Program, however, is a single, indivisible program, made up of all

of the Policies and the Insurance Agreements, and therefore, the Debtors may not assume some

Policies without assuming the entire Insurance Program.

        20.       The Insurance Program, which is an integrated insurance program, must be read,

interpreted and enforced together. See Huron Consulting Servs., LLC v. Physiotherapy Holdings,

Inc. (In re Physiotherapy Holdings, Inc.), 538 B.R. 225 (D. Del. 2015) (reversing bankruptcy court

decision which permitted debtor to assume one agreement between itself and another party, and

not the related agreements; holding that all agreements must be assumed or rejected together);

Dunkin’ Donuts Franchising LLC v. CDDC Acquisition Co. LLC (In re FPSDA I, LLC), 470 B.R.


                                                    4

 17-51014 - #558 File 11/22/17 Enter 11/22/17 16:09:18 Main Document Pg 4 of 12
257, 269 (E.D.N.Y. 2012) (holding that “two agreements [were] so interrelated, [that] they

form[ed] a single overarching executory contract”); In re Aneco Elec. Constr., 326 B.R. 197, 202

(Bankr. M.D. Fla. 2005) (finding “single, non-severable agreement” where contracts were between

same parties and obligations of each party are mutually dependent upon the other); In re Karfakis,

162 B.R. 719 (Bankr. E.D. Pa. 1993) (stating “two contracts which are essentially inseparable can

be, and should be, viewed as a single, indivisible agreement between the parties”).

       21.     Accordingly, any assumption of the Insurance Program and the obligations

thereunder must be in its entirety. See Quantum Diversified Holdings, Inc. v. Wienheimer (In re

Escarent Entities, L.P.), 423 F. App’x 462, 466 (5th Cir. 2011) (“[I]t is well-settled that an

executory contract cannot be assumed in part and rejected in part.”) (citing Stewart Title Guar. Co.

v. Old Republic Nat'l Title Ins. Co., 83 F.3d 735, 741 (5th Cir. 1996)); Century Indem. Co. v. NGC

Settlement Tr. (In re Nat'l Gypsum Co.), 208 F.3d 498, 506 (5th Cir. 2000) (stating same); In re

Aneco Elec. Constr., 326 B.R. at 202; see also In re University Medical Center, 973 F.2d 1065,

1075 (3d Cir.), reh’g en banc denied, 1992 U.S. App. LEXIS 27506 (Oct. 21, 1992) (stating

“(a)ssumption of the executory contract requires the debtor to accept its burdens as well as

permitting the debtor to profit from its benefits”); AGV Productions, Inc. v. Metro Goldwyn-

Mayer, Inc., 115 F. Supp.2d 378, 391 (S.D.N.Y. 2000) (citing cases); In re Metro Transp. Co., 87

B.R. 338, 342 (Bankr. E.D. Pa. 1982) (stating “assumption or rejection of an executory contrary

requires an all-or-nothing commitment going forward, and that hence a debtor cannot assume part

of an executory contract in the future while rejecting another part”); In re TSW Stores of Nanuet,

Inc., 34 B.R. 299, 304 (Bankr. S.D.N.Y. 1983) (citation omitted) (stating “(i)t is settled law that a

trustee or a debtor in possession ‘takes the contracts of the debtor subject to their terms and

conditions. Contracts adopted by him are assumed cum onere’”); In re Morande Enters., 335 B.R.




                                                 5

 17-51014 - #558 File 11/22/17 Enter 11/22/17 16:09:18 Main Document Pg 5 of 12
188, 192 (Bankr. M.D. Fla. 2005) (citation omitted) (stating that the “law is clear that an executory

contract may not be assumed in part and rejected in part”).

        22.     Additionally, it is well-established that a party cannot receive the benefits of a

contract without being liable for the obligations thereunder. See Richmond Leasing Co. v. Capital

Bank, N.A., 762 F.2d 1303, 1311 (5th Cir. 1985) (“Thus, the often-repeated statement that the

debtor must accept the contract as a whole means only that the debtor cannot choose to accept the

benefits of the contract and reject its burdens to the detriment of the other party to the agreement.”);

see also Tompkins ex. rel. A.T. v. Troy Sch. Dist., 199 Fed. Appx. 463, 468 (6th Cir. 2006) (holding

that it is a basic principle of contract law that a party to an agreement is constrained to accept the

burdens as well as the benefits of the agreement); In re Univ. Med. Ctr., 973 F.2d 1065, 1075 (3d

Cir. 1992), superseded by statute on other grounds; In re Texas Rangers Baseball Partners, 521

B.R. 134, 180 (Bankr. N.D. Tex. 2014) (“A debtor may not merely accept the benefits of a contract

and reject the burdens to the detriment of the other party.”); Lightfoot v. Borkon (In re Lightfoot),

399 B.R. 141, 149 (Bankr. E.D. Pa. 2008) (stating “[a]ssumption of the executory contract requires

the debtor to accept its burdens as well as permitting the debtor to profit from its benefits”); In re

Metro Transp. Co., 87 B.R. 338, 342 (Bankr. E.D. Pa. 1982) (stating “assumption or rejection of

an executory contrary requires an all-or-nothing commitment going forward, and that hence a

debtor cannot assume part of an executory contract in the future while rejecting another part”); In

re Morande Enters., 335 B.R. 188, 192 (Bankr. M.D. Fla. 2005) (stating that the “law is clear that

an executory contract may not be assumed in part and rejected in part”) (citation omitted); In re

TSW Stores of Nanuet, Inc., 34 B.R. 299, 304 (Bankr. S.D.N.Y. 1983) (stating “[i]t is settled law

that a trustee or a debtor in possession ‘takes the contracts of the debtor subject to their terms and

conditions. Contracts adopted by him are assumed cum onere’”) (citation omitted).




                                                   6

 17-51014 - #558 File 11/22/17 Enter 11/22/17 16:09:18 Main Document Pg 6 of 12
       23.     Because the Debtors seek to continue to receive the benefits of the Insurance

Program, the Debtors (or their successors, including the Reorganized Debtors) (i) cannot assume

portions of the Insurance Program without assuming all of the Policies and Insurance Agreements

that comprise the Insurance Program in their entirety, and (ii) must remain liable for all of the

Obligations under the Insurance Program

       24.     Accordingly, the Reorganized Debtor cannot receive the benefits of the Insurance

Program without remaining liable for the Obligations thereunder, regardless of when they arise.

II.    The Proposed Cure Amount of The Policies Listed on the Assumption Notice is
       Improper

       25.     The Debtors currently state that there is no Cure amount due to the Chubb

Companies on account of the Policies that the Debtors have listed on the Assumption Notice.

       26.     However, and as more particularly described in the Insurance Program, the Debtors

are required to pay the Obligations in connection with the Insurance Program, and, to the extent

that the entire Insurance Program is ultimately assumed, amounts may become due and owing

under the Insurance Program either prior to or after the assumption thereof.

       27.     Indeed, there is a current liquidated amount due and owing to the Chubb Companies

in the amount of $241,434.52, and this amount is not listed in the Assumption Notice.

       28.     The Chubb Companies also have contingent and unliquidated claims against the

Debtors for the Obligations, given the nature of the Insurance Program and the Obligations. By

way of example and not limitation, additional premiums may be payable at audit under the terms

of the Insurance Program, based upon factors as they exist throughout the coverage period.

Therefore, the Chubb Companies have contingent, unliquidated claims against the Debtors for any

additional premium that may become due upon completion of audit(s). By way of further example,

as insured claims develop, amounts payable in relation thereto arise at various points in time; so it



                                                 7

 17-51014 - #558 File 11/22/17 Enter 11/22/17 16:09:18 Main Document Pg 7 of 12
is common for amounts to arise in the future with respect to insured claims where the date of loss

was prior to the Petition Date.

       29.     Accordingly, as a condition for the assumption of the Insurance Program in

connection with the Plan, the Reorganized Debtor must remain liable for all of the Debtors’

obligations and liabilities (including the Obligations), whether now existing or hereafter arising,

under the Insurance Program including, without limitation, paying Obligations as they become

due. As of the date hereof, the liquidated amount of such Obligations is $241,434.52.

                                  RESERVATION OF RIGHTS

       30.     The Chubb Companies have been negotiating language for the Plan with the

Debtors, and believe that they are substantially in agreement as to language to the included in the

Plan with respect to the Objection and certain other concerns raised by the Chubb Companies to

the Plan. Given the progress of the negotiations, the Chubb Companies have not filed an object to

the Plan. However, to the extent that the language acceptable to the Chubb Companies is not

included in the Plan, the Chubb Companies reserve their rights to object to confirmation of the

Plan on the grounds set forth above, or on any other ground.

       WHEREFORE, the Chubb Companies respectfully request that this Court (a) clarify that

all Policies and Insurance Agreements that make up the Insurance Program shall be assumed by

the Reorganized Debtors in connection with the Plan; (b) require that the Reorganized Debtor

remain liable for all of the Debtors’ obligations and liabilities (including the Obligations), whether

now existing or hereafter arising, under the Insurance Program, including the Outstanding Balance;

and (c) grant such other relief as the Court deems appropriate.




                                                  8

 17-51014 - #558 File 11/22/17 Enter 11/22/17 16:09:18 Main Document Pg 8 of 12
Dated: November 22, 2017
                                           Respectfully submitted,


                                        By: /s/ Robert M. Kallam
                                            Leah N. Engelhardt (#23232)
                                            Thomas H. Prince (#32219)
                                            PREIS PLC
                                            601 Poydras Street, Suite 1700
                                            New Orleans, Louisiana 70130
                                            Tel.: (504) 581-6062
                                            Facsimile: (504) 522-9129
                                            E-Mail: lengelhardt@preisplc.com
                                                     tprince@preisplc.com

                                            -and-

                                            Robert M. Kallam (#20242)
                                            PREIS PLC
                                            102 Versailles Blvd # 400,
                                            Lafayette, LA 70501
                                            Tel.: (337) 237-6062
                                            Facsimile: (337) 237-9129
                                            E-Mail: rkallam@preisplc.com

                                            -and-

                                            Wendy M. Simkulak, Esquire (To be
                                            admitted Pro Hac Vice)
                                            Catherine B. Heitzenrater, Esquire (To be
                                            admitted Pro Hac Vice)
                                            DUANE MORRIS LLP
                                            30 South 17th Street
                                            Philadelphia, PA 19103-4196
                                            Telephone: (215) 979-1000
                                            Facsimile: (215) 979-1020

                                            Counsel for the Chubb Companies




                                       9

 17-51014 - #558 File 11/22/17 Enter 11/22/17 16:09:18 Main Document Pg 9 of 12
                               UNITED STATES BANKRUPTCY COURT
                             FOR THE WESTERN DISTRICT OF LOUISIANA
                                      LAFAYETTE DIVISION

                                                                  )
 In re:                                                           ) Chapter 11
                                                                  )
 KNIGHT ENERGY HOLDINGS, LLC, et al.,1                            ) Case No. 17-51014
                                                                  )
                             Debtors.                             ) (Jointly Administered)
                                                                  )


                                         CERTIFICATE OF SERVICE

           I, Robert M. Kallam, certify that I am not less than 18 years of age, and that I caused a

 copy of the Objection of the Chubb Companies to the Notice of Assumption of Executory Contracts

 and Unexpired Leases and Proposed Cure Costs for Such Executory Contracts and Unexpired

 Leases Pursuant to Debtors’ Joint Chapter 11 Plan of Reorganization As of October 17, 2017 as

 Included in the Plan Supplement to be served upon the parties listed on the attached service list by

 first class mail, postage prepaid on November 22, 2017:

           Under penalty of perjury, I declare that the foregoing is true and correct.


Dated: November 22, 2017:                                /s/ Robert M. Kallam
                                                         ROBERT M. KALLAM (#20242)



 1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
     number, are Knight Energy Holdings, LLC (1930) (Case No. 17-51014); Knight Oil Tools, LLC (2667) (Case No.
     17-51015); Knight Manufacturing, LLC (0600) (Case No. 17-51016); KDCC, LLC, f/k/a Knight Well Services,
     LLC (4156) (Case No. 17- 51017); Tri-Drill, LLC (4957) (Case No. 17-51018); Advanced Safety & Training
     Management, LLC, (0510) (Case No. 17- 51019); Knight Security, LLC (0923) (Case No. 17-51020); Knight
     Information Systems, LLC (9787) (Case No. 17-51021); El Caballero Ranch, Inc. (7345) (Case No. 17-51022);
     Rayne Properties, LLC (7235) (Case No. 17-51023); Knight Aviation, LLC (3329) (Case No. 17-51024); Knight
     Research & Development, LLC (3760) (Case No. 17-51025); Knight Family Enterprises, LLC (7190) (Case No.
     17-51026); HMC Leasing, LLC (0814) (Case No. 17-51027) and HMC Investment, LLC (8254) (Case No. 17-
     51029). The Debtors’ service address is 2727 SE Evangeline Thruway, Lafayette, Louisiana 70508 other than
     Knight Manufacturing, LLC and Advanced Safety & Training Management, LLC. Knight Manufacturing LLC’s
     service address is 2810-A Melancon Road, Broussard, Louisiana 70518 and Advanced Safety & Training
     Management, LLC’s service address is 2725 SE Evangeline Thruway, Lafayette, Louisiana 70508.




     17-51014 - #558 File 11/22/17 Enter 11/22/17 16:09:18 Main Document Pg 10 of 12
                                     SERVICE LIST

Knight Energy Holdings, LLC
2727 SE Evangeline Thruway
Lafayette, LA 70508

Douglas S. Draper, Esquire
William H. Patrick, III, Esquire
Tristan E. Manthey, Esquire
Cherie D. Nobles, Esquire
Heller, Draper, Patrick, Horn & Dabney, LLC
650 Poydras St #2500
New Orleans, LA 70130

J. David Forsyth, Esquire
201 St. Charles Avenue
Suite 3500
New Orleans, LA 70170-3500

U.S. Trustee
Office of U.S. Trustee
300 Fannin Street, Suite 3196
Shreveport, LA 71101

Gail Bowen McCulloch, Esquire
300 Fannin, Esquire 3196
Shreveport, LA 71101

Official Committee of Unsecured Creditors
Linda Helmick, Creditor Committee Chair
NLB Corp.
39830 Beck Road
Wixon, MI 48393

Official Committee of Unsecured Creditors
Clayton Courville, Creditor Committee Chair
EDI Environmental Services, Inc.
P.O. Box 607726
Lafayette, LA 70596




17-51014 - #558 File 11/22/17 Enter 11/22/17 16:09:18 Main Document Pg 11 of 12
Edward H. Arnold, III, Esquire
Jan Marie Hayden, Esquire
Lacey Elizabeth Rochester, Esquire
Baker, Donelson, Bearman, Caldwell & Berkowitz, PC
201 St. Charles Ave., Suite 3600
New Orleans, LA 70170

Daniel J. Ferretti, Esquire
Susan C. Mathews, Esquire
Baker, Donelson, Bearman, Caldwell & Berkowitz, PC
1301 McKinney St., Suite 3700
Houston, TX 77010

Rudy J. Cerone, Esquire
Sarah E. Edwards, Esquire
McGLINCHEY STAFFORD, PLLC
601 Poydras Street, 12th Floor
New Orleans, Louisiana 70130

Paul E. Heath, Esquire
Bradley Foxman, Esquire
Eric Hilmo, Esquire
Vinson & Elkins, LLP
2001 Ross Avenue, Suite 3700
Dallas, Texas 75201-2975




                                           2

17-51014 - #558 File 11/22/17 Enter 11/22/17 16:09:18 Main Document Pg 12 of 12
